Case 2:03-cv-02789-.]DB-dkv Document 41 Filed 05/27/05 Page 1 of 2 Page|D 69

iN THE UNITED STATES DlSTRiCT COURT Fu.a;) cea _ 6 \_ ae.
FoR THE WESTERN DISTRICT oF TENNESSEE , ; l q
WESTERN DIVISION 95 g 23 pa 151 _JL,

 

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DEDDRICK CAMPBELL,

 

PLAINTIFF,

v. No. 03-2789 BV
CCL CUSTOM MANUFACTURING, INC.

a TEXAS CORPORATION

STEVE SHUTLER, TED MELLINGER, ROGER BOSS
and CATHY REGENWETHER

DEFENDANTS .

 

ORDER GRANTING MOTION TO QUASH PLAINTIFF’S MULTIPLE
NOTICES TO TAKE SATURDAY DEPOSITIONS AND FOR
PROTECTIVE ORDER
SET ASIDE ENTRY OF DEFAULT

 

ThiS cause came to be heard on Defendant’S Motion to Quash Plaintiff’S Muitiple Notices
to Take Saturday Depositions and for Protective Orcier. Based on the record, the arguments of
counsel, and Jfor good cause Shown, the Court is of the opinion that this Motion is WelI-taken and
Should be GRANTED.

IT ]S THEREFORE ORDERED, ADJUDGED, AND DECREED that Defendant’$
Motion to Quash is hereby GRANTED, and a Protective Order is Entered prohibiting P]aintiff
from Noticing any further Weekend or after hour depositions Without further action of This
Court.

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JUDGE
DATE; 777“"7 52 7' 2005
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Honorable J. Breen
US DISTRICT COURT

